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IN THE UNITED sTATEs DIsTRlCT COURT F“£D B`l' 344 D-C`-
FoR THE WESTERN I)IsTRIcT oF TENNEssEE 05
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22 2- ' 2 222
NATHANlEL J. WADE, JR. ) 223
)
Plaintiff, )
)
vs. ) No. 05-2030-132\/
)
NATloNAL sAFETY )
AssocIATEs, INC. )
)
Defendant. )
sCHEDULING 0RDER

 

Pursuant to Written notice, a scheduling conference Was held on August l'!, 2005.
Present Were Todd P. Photopulos, counsel for Defendant, and J ames King, counsel for Planitiff.

At the conference, the following dates Were establishes as the file dates fort

INlTlAL DlsCLosuRES PURSUANT To FBD. R. Clv. P. 26(3)(1): The parties will make their
disclosures by September S, 2005.

JOlNlNG PARTIES: The parties shall join any additional parties by October 25, 2005.

AMENDING PLEADlNGS: The parties shall amend their pleadings by October 25, 2005. Any
responsive pleading shall be due 30 days after service

INITIAL MOTIONS TO DISMISS: Any initial Motion to Dismiss shall be filed by November 25,
2005.

COMPLETING ALL DISCOVERY: All discovery shall be completed by April 25, 2006.
(a) Document Production: April 25, 2006

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\.\.-mi Fiu\e 55 and/for FQ(a) FRCP on 9

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(b) Depositions, Interrogatories and Requests for Admission: April 25, 2006
(c) Expert Witness Disclosure (Rule 26):

(l) Disclosure of Plaintist Rule 26 Expert Information: February 27,
2006

(2) Disclosure of Defendant‘s Rule 26 Expert Information: March 27,
2006

(3) Expert Witness Depositions: April 25, 2006

FILING DlSPOSlTl\/E MOTIONS: The deadline to file any dispositive motions (including motions
for summary JUDGMENT) shall be May 25, 2006.

OTHER RELEVANT MATTERS:

No depositions may be scheduled to occur after the discovery cutoff date. All motions,
requests for admissions, or other filings that require a response must be filed sufficiently in
advance of the discovery cutoff date to enable opposing counsel to respond by the time permitted
by the Rules prior to that date.

Motions to compel discovery are to be filed and served by the discovery deadline or
within 30 days of the default or the service of the response, answer, or obj ection, Which is the
subject of the motion, if the default occurs Within 30 days of the discovery deadline, unless the
time for iiling of such motion is extended for good cause shown, or the objection to the default,
response, answer, or objection shall be Waived.

This case is set for jury trial, and the trial is expected to last 3 days. The pretrial order
date, pretrial conference date, and trial date Will be set by the presiding judge.

This case is appropriate for ADR. The parties are directed to engage in court-annexed
attorney mediation or private mediation after the close of discovery.

The parties are reminded that pursuant to Local Rule ll(a)(l)(A), all motions, except
motions pursuant to Fed. R. Civ. P. 12, 56, 59, and 60 shall be accompanied by a proposed order.

The opposing party may file a response to any motion filed in this matter. Neitlier party
may file an additional reply, however, Without leave of the court. If a party believes that a reply
is necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting
forth the reasons for Whicli a reply is required.

The parties consent to trial before the magistrate judge.

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This order has been entered after consultation With trial counsel pursuant to notice.

Absent good cause shown, the scheduling dates set by this order Will not be modified or
extended

IT IS SO ORDERED.

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DIANE K. VEsCovo
UNlTED STATES MAGISTRATE .IUDGE

DATE: 4b1sz 073:2665”

HSRDTIC COURT - WESRTE D"rTRCIT o TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 12 in
case 2:05-CV-02030 Was distributed by faX, mail, or direct printing on
August 23, 2005 to the parties listed.

 

 

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Honorable .l. Breen
US DISTRICT COURT

